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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 61 of 71

Sentencing

Appellant was convicted of both P.L. §240.20(2) and P.L. §240.20(3) (T. 82).
Before sentencing, appellant apologized for her actions and explained to the court that
she was a victim of domestic violence and suffered from post dramatic stress syndrome,
and that the guilty verdict was punishment enough (T. 83-85). The court sentenced
appellant to a conditional discharge and three days community service, and imposed a

$120 mandatory surcharge (T. 85-86).

ARGUMENT
POINT
THE CONVICTIONS SHOULD BE REVERSED AND
ACCUSATORY INSTRUMENT DISMISSED WHERE
THE EVIDENCE WAS INSUFFICIENT TO ESTABLISH
THAT APPELLANT HAD THE REQUISITE MENS REA
TO COMMIT DISORDERLY CONDUCT. U.S. CONST.,
AMEND. XIV; N.Y. CONST. ART. I, §6; P.L. §240.20.

Shortly before 10:00 p.m. on the Saturday night in question, appellant called 911
to report that she was being assaulted in Stitch Bar in midtown Manhattan. When officer
Winters and his partner responded to the scene, they were approached by appellant, who
was standing in front of the bar waiting for the police to arrive. Appellant, Winters
recalled, was distraught and had visible bruising on her arms. As appellant described the
incident to Winters, the tone of appellant's voice fluctuated with her emotional state;

When she was calm, appellant spoke in a low tone and when she was agitated or upset,

appellant's tone became elevated. After briefly speaking to a couple of people about the

 
 

 

Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 62 of 71

allegations outside of appellant's presence, Winters informed appellant that the police
would not take any further action and refused to take her assault complaint. When
Winters suggested that appellant contact the Better Business Bureau about her complaint,
appellant became upset and started to walk away. After she had walked about 25 feet,
appellant glanced over her shoulder and, as she continued walking, yelled to Winters, "go
f--- yourself." Winters immediately arrested appellant for disorderly conduct. As
discussed below, because evidence that appellant had the requisite mens rea to commit
disorderly conduct was lacking, the convictions must be reversed and the accusatory
instrument dismissed.

It is a fundamental principle that a criminal conviction cannot stand absent
sufficient proof beyond a reasonable doubt on every element of the offense. See Jackson
v. Virgina, 443 U.S. 307, 316 (1979). A conviction is legally insufficient where, viewing
the record in the light most favorable to the prosecution, there is no “valid line of
reasoning and permissible inferences from which a rational jury could have found the
elements of the crime proved beyond a reasonable doubt.” People v. Matdonado, 24
N.Y.3d 48 (2014)(quoting People v. Danielson, 9 N.Y .3d 342, 349 (2007); see People v.
Khan, 18 N.Y.3d 535, 541 (2012); People v. Williams, 84 N.Y.2d 925, 926 (1994);

People v. Contes, 60 N.Y.2d 620, 621 (1983).

 

8 Counsel preserved the legal insufficiency argument by moving for a trial order of dismissal
based on the lack of evidence of “public harm," a requisite element of P.L. §240.20. See People
v. Hawkins, 11 N.Y.3d 484 (2008); People v. Gray, 86 N.Y.2d 10 (1995).

10

 
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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 63 of 71

Moreover, even if all the elements are supported by some credible evidence, the
Court still must examine the evidence further and “determine whether an acquittal would
not have been unreasonable." People v. Bailey, 94 A.D.3d 904, 905 (2d Dept. 2012). If,
based on the credible evidence, a different finding would not have been unreasonable,
then the appellate court must "weigh the relative probative force of conflicting testimony
and the relative strength of conflicting inferences that may be drawn from the testimony."
People v. Bleakley, 69 N.Y.2d 490, 495 (1987)(citation omilted); see People v.
Danielson, 9 N.Y 3d 342; People v. McFadden, 106 A.D.3d 1020 (2d Dept. 2013)(noting
there is no preservation requirement for appellate weight-of-the-evidence review).

In reviewing a weight of the evidence claim, an appellate court exercises its power
to “affirmatively review the record; independently assess all of the proof; substitute its
own credibility determinations for those made by the jury[,] determine whether the
verdict was factually correct; and acquit a defendant if the court is not convinced that the
jury was justified in finding that guilt was proven beyond a reasonable doubt.” People v.
Delamota, 18 N.Y.3d 107, 117 (2011); see Danielson, 9 N.Y.3d at 348; Bleakley, 60

N.Y.2d 490.

 

Appellant lacked the mens rea to commit disorderly conduct

Appellant was convicted of two counts of disorderly conduct, PL. §240.20(2) and |
P.L. §240.20(3). Under Penal Law §240.20(2), “[a] person is guilty of disorderly conduct
when, with intent to cause public inconvenience, annoyance or alarm, or recklessly

creating a risk thereof . . . [hJe makes unreasonable noise.” Under Penal Law §240.20(3),

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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 64 of 71

fa] person is guilty of disorderly conduct when, with intent to cause public
inconvenience, annoyance or alarm, or recklessly creating a risk thereof... [iJna public
nd |

place, he uses abusive or obscene language, or makes an obscene gesture.

That the "defendant's disruptive statements and behavior [are] of a public rather

 

than an individual dimension .. . stems from the mens rea component, which requires

proof of an intent to threaten public safety, peace or order (or the reckless creation of
such a risk)." People v. Baker, 20 N.Y.3d 354, 360 (2013). The Court of Appeals in
People v. Baker noted that, because of its "important narrowing function," without which
the disorderly conduct statute would be vulnerable to constitutional attack, the “public
harm" element "cannot be overstated." People v. Baker, 20 N.Y.3d 354, 360. Thus, "a |

person may be guilty of disorderly conduct only when the situation extends beyond the '
exchange between the individual disputants to a point where it becomes a potential or
immediate public problem" Jd. at 359-360; see People v. Bakolas, 59 N.Y.2d 51, 54 |
(1983)(public harm clement vital to the constitutionality of P.L. §240.20 because it

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“narrows the definition [of prohibited conduct}, so that no inadvertent .. . act may be |
|

punished”).

 

> "A person acts intentionally with respect to a result or to conduct described by a statute
defining an offense when his conscious objective is to cause such result or to engage in such
conduct.” P.L. §15.05(1).

"A person acts recklessly with respect to a result or to a circumstance described by a statute
defining an offense when he is aware of and consciously disregards a substantial and
unjustifiable risk that such result will occur or that such circumstance exists. The risk must be of

such nature and degree that disregard thereof constitutes a gross deviation from the standard of

conduct that a reasonable person would observe in the situation. A person who creates such a

risk but is unaware thereof solely by reason of voluntary intoxication also acts recklessly with

respect thereto." P.L. §15.05(3).

12
Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 65 of 71

To determine whether the record supports an inference that the defendant had the
requisite mens rea, courts conduct "a contextual analysis that turns on consideration of
many factors, including 'the time and place of the episode under scrutiny; the nature and
character of the conduct; the number of other people in the vicinity; whether they are
drawn to the disturbance and, if so, the nature and number of those attracted; and any
other relevant circumstances." Baker, at 360 (quoting People v. Weaver, 16 N.Y.3d 123,
128 (2011). Although the risk of public disorder does not have to be realized, "the
circumstances must be such that defendant's intent to create such a threat (or reckless
disregard thereof) can be readily inferred." People v. Baker, supra (citing People v
Todaro, 26 N.Y .2d 325, 329 (1970)).

In Baker, the Court of Appeals revisited several of its seminal decisions analyzing
the "public harm" element of the disorderly conduct statute, and the decision provides a
helpful contextual framework for assessing whether a particular situation "extend[s]
beyond the exchange between the individual disputants to a point where it becomes a
potential or immediate public problem." People v. Baker, 20 N.Y .3d at 359-360 (citing
People v Weaver, 16 N.Y .3d at 128 (internal quotation marks and citation omitted)).

The defendant in Baker approached a police car that was parked on a residential
block in Rochester and asked the officer inside why he had checked the license plate of a
car that was parked in his girlfriend's driveway across the street. The officer replied that
"he could run a plate if he wanted to," and the defendant, who started backing away from
the officer towards the middle of the street, swore at the officer in a loud tone. When the

officer asked "what did you say,” the defendant repeated the profanity and accused the

13

 
 

Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 66 of 71

officer of harassing him. The officer then arrested the defendant for disorderly conduct.
Baker, at 357.

Although the defendant swore at the officer in a loud tone and his conduct
attracted the attention of about ten bystanders, who had gathered on the sidewalk to
watch the interaction, the Court, reversing the defendant's plea conviction, held there was
"no record basis for the finding of probable cause" to arrest the defendant for P.L.
§240.20(3) because the proof was "insufficient to support the public harm element." Jd, at
362-363.

Conducting a multi-factored contextual analysis, the Baker Court noted that the
defendant's "public outburst" -- which consisted of making two loud derogatory
statements claiming harassment -- was "extremely brief." Jd And, because the incident
"occurred around dinner time on a heavily-populated city street bustling with car traffic
and pedestrian activity,” the Court observed, "there was no significant likelihood that
defendant's brief statements loud [as] they were would disrupt peace and order in the
vicinity." People v. Baker, at 363.

The Court further noted that, although a group of bystanders had gathered around
the defendant and his girlfriend, there was "no evidence that the bystanders expressed any
inclination, verbally or otherwise, to involve themselves in the dispute between defendant
and [the officer]" and "no basis to infer that these spectators were motivated by anything
other than curiosity." Baker, at 363. In addition, the Court pointed out that the derogatory
statements were "not accompanied by menacing conduct" and, in fact, the "defendant was

stepping away from the vehicle when he made them." Nor was there any basis to infer

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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 67 of 71

that the officer felt threatened by the statements, and the presence of another officer at the
scene who was "fully able to provide assistance diluted the risk that others in the vicinity
would join forces with [the] defendant and gang up on [the officer]." Td.

"Another factor worthy of consideration,” the Baker Court continued, was that the

abusive statements were directed at a police officer.

[BJoth at its inception and conclusion, the verbal exchange
was between a single civilian and a police officer. The fact
that defendant's abusive statements were directed exclusively
at a police officer a party trained to diffuse situations
involving angry or emotionally distraught persons further
undermines any inference that there was a threat of public
harm, particularly since the police officer was in a position of
safety and could have closed his windows and ignored
defendant. . . . [I]solated statements using coarse language to
criticize the. actions of a police officer, unaccompanied by
provocative acts or other aggravating circumstances, will
rarely afford a sufficient basis to infer the presence of the
"oublic harm" mens _rea necessary to support a disorderly
conduct charge.

People v. Baker, 20 N.Y .3d at 363 (emphasis added).

 

As discussed below, the underlying facts in the instant case are strikingly similar
to those in Baker. While in Baker, the facts did not provide a record basis to support a
finding of probable cause, in the instant case there was an insufficient factual basis to |
support the conviction. The encounter here was merely a “purely personal clash” and
"momentary ... flare-up [and did not] attain the degree of gravity warranting criminal
prosecution under the statute.” Baker, at 361 (citing People v. Pritchard, 27 N.Y.2d 246,

249 (1970).

 
 

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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 68 of 71

Nature and character of the conduct

As in Baker, appellant's outburst was extremely brief. Dissatisfied with the way
officer Winters responded to her complaint, appellant expressed her dissatisfaction by
making a loud derogatory remark to officer Winters as she was walking away from the
scene. Winters reacted by immediately arresting appellant for disorderly conduct.

The disorderly conduct statute was not intended to proscribe each and every minor
annoyance. Again, the scope of the statute “is limited to that type of conduct which
involves a genuine intent or tendency to provoke a breach of the peace.” People v.
Pritchard, 27 N.Y.2d at 248 (quotations omitted). Thus, standing alone, appellant's

statement was insufficient to satisfy the "public harm" element of P.L. §240.20. See

People v. Baker, supra, at 362-363; People v. Pritchard, supra, at 249° (reversing:

disorderly conduct conviction based on defendant's fight in dance club, which resulted in
crowd gathering); People v. Perry, 265 N.Y. 362, 365 (1934)(notwithstanding the fight
occutred in public venue and a crowd had gathered to watch, evidence legally insufficient
to establish disorderly conduct); see also People v. Carter, 13 A.D.2d 652 (1st Dept.
1961)(defendant may not be convicted of disorderly conduct where there is a reasonable
doubt whether the conduct was intentional or whether it resulted from a momentary and

unanticipated lack of physical control).

Time and Place
As in Baker, the incident here occurred "on a heavily-populated city street bustling

with car traffic and pedestrian activity.” Specifically, the encounter occurred shortly

16

 
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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 69 of 71

before 10:00 p.m. on a Saturday night in noisy midtown Manhattan, a few blocks from

Madison Square Garden, where sport fans regularly congregate outside and yell and curse

and complain about their team’s latest loss. Thus, as in Baker, given the makeup of the
area, "there was no significant likelihood that defendant's brief statements loud [as] they
were would disrupt peace and order in the vicinity." Baker, 20 N.Y.3d at 363.
Private exchange

The Baker Court reiterated that "isolated statements using coarse language to
criticize the actions of a police officer, unaccompanied by provocative acts or other
aggravating circumstances, will rarely afford a sufficient basis to infer the presence of the
‘public harm! mens rea necessary to support a disorderly conduct charge.” Jd. =

As in Baker, appellant's remark was directed exclisively ata police officer, “a
party trained to diffuse situations involving angry or emotionally distraught persons."

Baker, 20 N.Y.3d at 363.

 

accusatory instrument charging P.L. §240.20(2) and P.L. §240.20(3) based on defendant, who
was walking in middle of street, yelling to officer, including saying “arrest me," and making
several abscene gestures including giving two middle fingers and grabbing her crotch in that the
conduct "create[d] the risk for public alarm as cars were stopped behind patrol in view of the
defendant's behavior." Court noted that officer "could have just as easily ignored Defendant's
crude gestures" and "isolated statements using course language to criticize the actions of a police
officer, unaccompanied by provocative acts or other aggravating circumstances, will rarely
afford a sufficient basis to infer the presence of the public harm mens rea necessary to support a
disorderly conduct charge.").

'l'In City of Houston v. Hill, 482 U.S, 451 (1987), the defendant was arrested after “shout[ing] |
abuses," which violated a city ordinance that prohibited “intentionally interrupt[ing] a city

policeman .. . by verbal challenge during an investigation,” and accosting police officers who |
were in the process of issuing a ticket to his friend. /d at 454 & n.2. The law had been

interpreted as encompassing those who “verbal[y] abuse” and “curs[e]” at a police officer while

in the line of duty. Jd. at 457.

17
 

Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 70 of 71

Absence of other aggravating circumstances

Nor do the other circumstances of the encounter support the inference that
appellant intentionally or recklessly caused public harm or created the risk thereof. As in
Baker, appellant uttered the statement as she was walking away from the scene, from a
distance of 25 feet. The fact that appellant had started to physically distance herself from
the encounter is inconsistent with the finding that she possessed the requisite mens rea or

that her statement created a public safety risk or was otherwise threatening to the police. 7

 

Vacating Hill's conviction, the Supreme Court found that the ordinance was unconstitutionally
overbroad because “the First Amendment protects a significant amount of verbal criticism and
challenge directed at police officers.” Hill, 482 U.S, at 461-463. Even speech that is “provocative
and challenging” is “protected against censorship or punishment,” the Court explained, “unless
shown likely to produce a clear and present danger of a serious substantive evil that rises far
above public inconvenience, annoyance, or unrest.” Jd. at 46]. Unless a defendant's verbal
challenge to law enforcement officers rises to the level of “fighting words that ‘by their very
utterance inflict injury or tend to incite an immediate breach of the peace,’ his activity is
constitutionally protected, Hill, 482 U.S, at 461-462 (quoting Lewis v. City of New Orleans, 415
U.S. 130, 133 (1974){invalidating ordinance that made it a crime “for any person wantonly to
curse or revile or to use obscene or opprobrious language toward .. . police”). As the Hi/? Court
noted, “[t}he freedom of individuals verbally to oppose or challenge police action without
thereby risking arrest is one of the principal characteristics by which we distinguish a free nation
from a police state.” Jd. at 462-463.

Similarly, in Provost v. City of Newburgh, 262 F.3d 146 (2d Cir. 2001), the Court sustained the
jury finding that police lacked probable cause to arrest Provost under P.L. §240.20(3)(using
abusive or obscene language in a public place), despite evidence that Provost, who became angry
after a lengthy wait at a police station, repeatedly “screamfed], sw[ore], [and] holler[ed]” at
officers in the presence of others, /d. at 151-152. The Court ruled that Provost's “language could
not be the basis for a valid arrest because ... it was constitutionally protected,” 262 F.3d at 159,
and “[o]nly fighting words directed at police officers can be criminalized” because “a properly
trained officer may reasonably be expected to exercise a higher degree of restraint than the
average citizen.” Jd. at 159-160 (quotations and citations omitted).

” The prosecutor's argument on summation that appellant's intent to create a public disturbance
could be inferred from the fact that she made the statement to the police from afar instead of
face-to-face is ridiculous and should be rejected. There were four officers at the scene, none of
whom seemed the least bit sensitive to appellant's complaint, and appellant, who was evidently

18

 

 
 

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Case 1:15-cv-05871-LAP Document 16-3 Filed 05/09/16 Page 71 of 71

Nor was there any evidence that Winters felt threatened by appellant at an earlier
point, before she started to walk away. During Winters five-minute conversation with
appellant, the officer was leaning against a phone booth in a relaxed pose and three
fellow officers were within arm's reach. ?

Regardless of whether the remark was directed at Winters specifically or all four
officers, here, as in Baker and as in People v. Munafo, 50 N.Y.2d 326 (1980), 4 which
also involved a private dispute between the defendant and police, there was no indication

that appellant sought to expand the boundaries of the encounter by inciting or involving

alone, had reason to question their professionalism and judgment. That appellant uttered the
statement from a distance supports the inference that, although she wanted to voice her
dissatisfaction with how Winters handled her complaint, she felt less vulnerable expressing
herself from afar.

3 Although appellant had earlier used animated hand gestures while communicating to officer
Winters, there is no evidence that the gestures were intended to be menacing or threatening.
Studies of gesture at the University of Chicago concluded that speech and gesture are two
aspects of a single linguistic system and the evidence suggests that the greater the cognitive
effort required for speech, the more we gesture. Essentially, hand-waving, some of which is
reflexive, seems to decrease our "cognitive load" or the amount of mental effort needed to
retrieve information, http://online.wsj.com/news/articles/SB [068698762 1722900. Although Relf
claimed that appellant was acting "aggressively," Relf was apparently referring to appellant's
hand gesturing and there is no evidence to suggest that Relf (or any of the other officers) actually
felt threatened. In any event, regardless of how the police perceived the earlier hand gesturing, at
the time of appellant's arrest, she was walking away from the scene and clearly posed no threat.

4 Defense counsel relied on Munafo in support of the defense motion to dismiss based on
insufficient evidence of public harm. In Munafo, the defendant fired a shot in the air at a State
Power Authority construction crew that was attempting to erect a transmission line on a right-of-
way that went through his farm. About ten people witnessed the incident but they had not been
drawn there by defendant's conduct and did not get involved. The evidence in Munafo did not
support the disorderly conduct conviction not only because the incident occurred on the
defendant's private property in a remote area, but also because there was no indication that the
defendant sought to incite or involve the witnesses, who were already in the area, and the "only
fair inference was that the differences between the authority and the defendant were confined to
these two disputants rather than spread to the public.” People vy. Munafo, 50 N.Y.2d at 332.

19

 
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Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 1 of 40

members of the public. See Munafo, at 331-332; see also People v. Castro, 29 Misc. 3d
1217(A) (Sup. Ct. Bronx Co, 2010)(no probable cause supporting disorderly conduct
arrest; defendant's conduct - yelling and cursing at officers writing traffic ticket and
puffing out his chest - was directed at police and defendant made no attempt to involve
spectators); cf People v. Gonzalez, 112 A.D.3d 440 (1st Dept. 2013)(finding probable
cause for disorderly conduct arrest where defendant loudly and angrily cursed police

officers, violently waved his arms, screamed complaints about the police to people in the

 

vicinity, and forced subway riders out of his way, conduct which "escalated defendant's
initially individual interaction with the police officer so as to create a ‘potential or
immediate public problem'™)(quoting People v. Weaver, 16 N.Y.3d at 128)); Jn re
Jonathan Mcr... 303 A.D.24 169 (1st Dept. 2003)(probable cause for disorderty-conduct
arrest where defendant flailed his arms and yelled obscenities in presence of gathering
crowd and police, who had been summoned by livery cab driver to help resolve dispute

with appellant). .

 

Conduct of bystanders
Nor did the other evidence support the finding that appellant's private grievance
with the police was at risk of becoming public issue. See Munafo, 50 N.Y.2d at 331. In

assessing whether a defendant's conduct constitutes “a potential or immediate public

 

'5 The Baker Court noted that the presence of another officer in the area effectively "diluted the
risk that others in the vicinity would join forces with [the] defendant and gang up on (the first
officer]." Baker, at 363. Unlike in Baker, here there were three other officers at the scene, not
just one.

20
Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 2 of 40

problem,” relevant factors include: "the number of other people in the vicinity; whether
they are drawn to the disturbance and, if so, the nature and number of those attracted; and
any other relevant circumstances.” People v. Pritchard, 27 N-Y.2d at 248-249.

While there were a few pedestrians and bystanders in the vicinity, and one officer
testified that a crowd of five gathered across the street, 16 4s in Baker, there is "no
evidence that the bystanders expressed any inclination, verbally ot otherwise, to involve
themselves in the dispute between defendant and [the officer]." People v. Baker, 20
N.Y.3d at 363; see People v. Munafo, 50 N.Y.2d at 331-332 (no public harm to support
disorderly conduct conviction where, inter alia, confrontation "confined to [the] two
disputants"). Thus, as in Baker, there is "no basis to infer that these spectators were
motivated by anything other than curiosity or a desire for entertainment.” Baker, ‘at 361

(citing Pritchard, at 248-249).

No evidence that the public was annoyed, alarmed, or inconvenienced

Moreover, although the police were obviously upset over appellant's remark, there
is no evidence that members of the public were actually annoyed, alarmed or
inconvenienced by appellant's actions, as required under P.L. §240.20. See People v.
Jones, 9 NY3d 259, 262 (2007)(dismissing information charging P.L,
§240,20(5)(obstructing vehicular or pedestrian traffic) for failure to allege sufficient facts

"supporting or tending to support" mens rea element; Although as a result of defendant's

 

'6 According to the police, the number of bystanders and onlookers who gathered to watch the
encounter ranged from five to twenty.

21

 

 
Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 3 of 40

conduct, numerous pedestrians had to walk around defendant, “[s]omething more than a
mere inconvenience of pedestrians is required to support the charge”); People v. Munafo,
50 N.Y.2d at 332 (no evidence defendant's conduct caused “any obstruction of passage,
vehicular or pedestrian, of the public at large”); People v. Richardson, 30 Misc. 3d
1204(A) (Crim. Ct. N.Y. Co. 2010)@.L. §240.20(3))(information alleging defendant
yelled obscenities at a New York City location, causing a crowd to gather, insufficient to
support disorderly conduct, absent allegation that anyone was annoyed or inconvenienced
by defendant's actions); see also U.S. v. Olavarria, 2011 WL 1529190 (S.D.N.Y.)(where
entire incident lasted no more than five minutes, obstruction of pedestrian traffic
unlikely); People v. Snyder, 36 Misc. 3d 137(A) (9th &10th Jud. Dists. 2012)(evidence
legally insufficient to establish P.-L. §240.20(2); intent to create public disturbance not
supported by facts where, inter alia, defendant shouted in protest of what he reasonably
believed to be his wrongful treatment by police outside his home and prosecution did not
present evidence regarding effect on public); cf People v. Malone, 28 Misc. 3d 1227(A)
(Crim. Ct. New York Co. 2010)(disorderly conduct charge sufficiently pled where

defendant's conduct caused people to leave and avoid Times Square area).'’

This case is readily distinguishable from People v. Weaver and People v. Tichenor
At trial, the prosecutor, relying on People v. Weaver, argued that appellant's mens

rea to commit disorderly conduct was inferable from the circumstances. Given the

'7 The requisite intent to breach peace cannot be found solely upon the prohibited act itself. See
People v. Pearl, 321 N.Y.S.2d 986, 987 (1st Dept. App. Term 1971)(obstructing sidewalk).

22

 
Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 4 of 40

striking factual dissimilarities between this case and Weaver, however, the prosecutor's
reliance on Weaver was wholly misplaced.'®

In Baker, the Court cited Weaver as an example of a case in which the requisite
mens rea was “readily inferred” from the circumstances, which included:

1. Context: The incident in Weaver occurred A) at a public location ~ a patking lot by an
open gas station; B) in a sleepy little upstate town; C) in the middle of the night.

2. Defendant's conduct: A) Weaver was waving his arms and yelling obscenities at his
bride (who was sitting on the curb crying) in a "loud, aggressive, and threatening tone"
and, B) when the police tried to intervene on his wife's behalf, the defendant threatened
the officer not to put her hands on him; and C) only after failing to comply with repeated
warnings to stop his disruptive behavior, was defendant was arrested for-disorderly
conduct.

Given Weaver's aggressive response to the officer's effort to intervene on his
bride's behalf, the Baker Court noted, the “protracted, increasingly aggressive nature of
defendant's vocalizations,” the officer's repeated warnings to calm down and go
elsewhere, which Weaver ignored, and the place and time of the encounter, readily
supported the inference that Weaver's intent was to create a risk of public harm.

Notably, unlike Weaver, the encounter here occurred shortly before 10 p.m. on a
Saturday night in midtown Manhattan, an area where the public is bombarded with loud

noises around the clock — including clanging banging sanitation trucks, horns, shrill

 

'8 The court, in denying the motion to dismiss and convicting appellant on both counts,
presumably credited the prosecutor's argument.

23
 

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Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 5 of 40

police and ambulance sirens, street traffic — chronic noises that are louder and far more
noxious and offensive than one brief vocal outburst.

Moreover, unlike in Weaver, appellant's conduct was not "increasingly
aggressive," and the dispute was a private matter between appellant and officer Winters |
and did not involve an innocent third party. Notably, unlike in Weaver, where the

defendant was arrested only after he ignored repeated police warnings and whose

 

disruptive conduct showed no sign of abating, here the police did not issue a single

warning, let alone multiple warnings prior to the arrest.!? Moreover, unlike the defendant
in Weaver, appellant was arrested after she started to walk away, when the encounter was
winding down. See People v. Richardson, 30 Misc. 3d 1204(a) (in determining whether
defendant had culpable mental state to create public disturbance court should consider,
inter alia, whether defendant persisted in the conduct after the police issued warnings),

Finally, unlike the protracted encounter in Weaver, here the conduct consisted of a

single derogatory statement. Even if the conduct preceding the remark could somehow be
characterized as disruptive — which it was not ~ the entire encounter was over in five
minutes or less.

The facts in this case also bear little resemblance to those in People v. Tichenor,
89 N.Y.2d 76, where the defendant's intent was also readily inferable from the

circumstances. Baker, 20 N.Y.3d at 361.

 

'° When Winters asked appellant to lower her voice, appellant complied. Her tone again became
elevated in reaction to Winters' comment that appellant should contact the BBB about the
assault.

24
Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 6 of 40

In Tichenor, the defendant, who was standing by the exitranicawey of a bar in
Saratoga Springs late at night, spit and yelled obscenities at an officer as the officer
walked by and then shoved the officer, who was alone on foot patrol. When the officer
tried to arrest the defendant for disorderly conduct, a crowd of patrons gathered and
yelled for the officer to leave the defendant alone. The defendant retreated inside the bar
and, when the officer followed him inside, a scuffle erupted between the defendant, the
officer, and a number of bar patrons. /d.

The defendant instigated the confrontation, the Baker Court noted, and the
circumstances of the encounter -- a single officer, a crowd of reactive bar patrons who
voiced their support for the defendant, and the defendant's retreat inside the bar -- created
"a risk of public harm." That the harm actually materialized was “a predictable result
given the context of [defendant's] obstreperous statements and conduct." Baker, at 361.

The only commonality between the instant case and Vichenor is that both cases
occurred at night in or near a bar. Indeed, unlike the officer in Tichenor, who was alone
on foot patrol, here there were three officers standing within arm's reach of Winters. And,
unlike the officer in Tichenor, who felt threatened and called for back-up assistance, here
there was no evidence that the police considered appellant's conduct a threat to the police
or to the public. Finally, unlike the defendant in Tichenor, appellant approached the

police for a lawful purpose, not to instigate a confrontation.

 
Case] Ba Be eal oes ilalalla eaten eck oho lease emaral ain ema aarp TIS

 

Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 7 of 40

Appellant's statement did not constitute "unreasonable noise"

Appellant also lacked the requisite actus rea to commit P.L. §240.20(2). In People
y. Bakolas, 59 N.Y.2d 51, the defendant, who was stopped for a traffic violation, became
abusive and threatening to the police. Refusing to return to his vehicle when ordered to
do so, the defendant stood in the roadway thus forcing vehicles to swerve to avoid
striking him. Jd. at 52-53. Defining “unreasonable noise" as a noise of a "type or volume
that a reasonable person, under the circumstances, would not tolerate," the Bakolas Court

concluded that “the objective standard of public disturbance, the requirement of

 

unreasonableness, and the narrowing effect of the fact that all of the other acts proscribed
by the section are publicly offensive, permit, if they do not require, [a constitutionally
permissive] construction.” People v. Bakolas, 59 N.Y 2d at 53-54; People v. Carver, 971
N.Y.S.2d 669 (Sup. Ct. 2013)(discussing P.L. §240.20(2)); relevant inquiry includes
nature of noise and attendant circumstances, such as character of surrounding area and
number of people attracted).

Although appellant's remark was loud, given the makeup of the area and the lack |
of sound measurement evidence in the case, the evidence did not establish that the tone of |
appellant's voice was objectively unreasonable, particularly since there was no testimony
that any of the bystanders complained to the police or acted in a way that suggested they

found the noise intolerable.

26
 

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Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 8 of 40

Conclusion

In sum, appellant's appellant's brief emotional outcry over Winter's handling of her
assault complaint and the officer's insensitive comment does not constitute disorderly
conduct. Appellant may have uttered the statement on a public street, but the remark was
directed exclusively at the police, specifically officer Winters, the episode occurred on a
commercial block in noisy midtown Manhattan, appellant never attempted to draw a
crowd or to incite anyone else to become involved with her private grievance against the
police, and there was no evidence suggesting there was a risk that the situation could
escalate. In fact, appellant made the statement after she physically withdrew from the
situation and was walking away, thus signaling that her intent, notwithstanding her brief
outcry, was to pul the entire upsetting exchange with Winters behind her. In-short, this
was not a situation "that carried beyond the individual disputants to a point where [it] had
become a potential or immediate public problem." Munafo, 50 N.Y.2d at 331.

Thus, for the reasons stated above, even viewing the evidence in the light most
favorable to the prosecution, there was a failure of proof as to an essential element of the
crime. The circumstances simply do not support the inference that appellant intended to
create a public disturbance or recklessly disregarded the risk thereof. At the very least,
the verdict was against the weight of the evidence. Therefore, the conviction should be

reversed and the accusatory instrument dismissed.

27

 
Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 9 of 40

CONCLUSION

FOR THE REASONS STATED ABOVE, THE
CONVICTION SHOULD BE REVERSED AND THE
ACCUSATORY INSTRUMENT DISMISSED.

Respectfully submitted,

SEYMOUR JAMES, Jr.
Attorney for Defendant-
Appellant

JANE LEVITT
Of Counsel
June 2015

28
 

Gase4-t5-ev-058714-KPF—Bocument 24-5—Fitecd 09/02/16 Page 21 of 41
Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 10 of 40

Exhibit X

 
Case 1:15-cv-05871-KPF Document 21-5 Filed09/02/t6 Page 220f4T

Gase:1:15-¢v-05874- LAR Decument 16-4:-Filed. 08/09/16 Ragest Of: 40s =
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21-5Fited 09/02/16 Page 23 of 41
Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 12 of 40

Exhibit Y

 
 

Case 1:15-cv-05871-KPF Document 21-5 Filed-69/62/t6— Page 24 of 41 ~

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Exhibit Z

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69/62/46 Page 25 of 41

5/09/16 Page 14 of 40

 
 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

“9(7/2011 SD met with CL at CVTC. iCVTC
9/7/2011/SD did a lot of CC with CL during our meeting. Crisis
emnmeesssinin lies cams ___ {Counseling |
9/7/2011|SD s/w GL. about the likelinood that the charges against her willbe _|[Info-Legal
_______idropped. a oe vasa
9/7/2011|SD s/w CL ‘about the history of DV b/w them and described the Info-Other
__jeommon tactics used by abusers to get what they want. ae
9/7/2011|SD advised CL that the court calendar governs when certain things Info-Legal
happen, so if the ADA is planning on dropping the charges, he/she
___jcan do so at that court date.
9/7/20111SD suggested that CL look into the CCRB asa possible mechanism |Info-Legal
for holding the 28th precinct cops accountable for what they've done |
to her.
9/7/2011|SD advised CL that the only real oversight with NYPD comes from Info-Legal
IAB (which she's already involved with) and the CCRB.
9/7/2011|SD advised CL that in cross-complaint cases, credibility is key y and \Info-Legal
the pending criminal case against her puts her at a disadvantage as
_____ffar as that's c concerned. |. _
9/7/2011|SD informed CL thatthe first focus should be: getting the eharges Info-Legal
dropped and once that's resolved, then see if it's possible to re-open |
— _ ithe assault case against RESP. 1 <n!
9/7/2011/SD gave CL my card with the LAP HL #onit in case she needs to \Info-Legal
it _ jcontact me. ee eee roto et oe ee eel ome et ee
— 9/14/2011}SD sAv CL who called i in for me at CVTC. 7 \Follow Up |
9/14/2011|SD, with Lisa H. @ CVTC, attempted to contact Lisa Callahan @ the ICJA-DA
Mn DA's office, No answer. Left vm with my direct line and extension
_._ tecallme back. '
9/14/20114/SD advised CL that b/c of the bureaucratic nature of the system, Info-Legal ¢
oe lcorrecting mistakes like this take an extensive amount of time. _ |
9/14/2011/CL expressed fear at being incarcerated "for the rest of her life, "and linfo-Legal
SD reminded her that these are all MISD charges and carry a
maximum of 1 year.
9/14/2011|SD advised CL that we tried to call Lisa Callahan at the DA's offi ce, |Info-Legal
but there was no answer so we left a message asking her to call me
back at the Office: on my &: extension. ; to
9/14/2011 SD advised CL ‘that: we have a > a working relationship with the ‘DA's \Info-Legal
Da ___ office and will try to utilize that to help her. _
10/14/2011|SD called Lisa @ CVTC to s/w her on CL's behalf about Belinda PA-Legalt
escorting CL to her appt with a City Council member to discuss her
| {treatment by NYPD and the DA's office. No answer. Left vm. _
10/28/2011|SD s/w CL who called for me on the HL. ‘|Follow Up _
10/28/2011|SD offered CL emotional support given her treatment by the police Crisis
_Jand the DA's office, _.Counseling,

Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 15 of 40

 

 
Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 16 of 40

 

 

 

 

  

 

 

40/28/2011

 

SD advised CL that | can call the precinct to speak with the DVPO

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| 14/16/2014

jaccompaniment to the 28th precinct as well as CL possibly testifying
jat City Council.

info- egal
who took her rep't on RESP's latest attack (a PO Simmons) and find
out what happened w/ the DIR. is Poi
10/28/2011/SD advised CL that both Lisa @ CVTC and | have been trying to get \info-Legal
through to the DA's office about getting the charges dropped but
oe ay (WE'TE NOt getting anywhere on that | front. jo
40/28/2011 SD advised CL to send me her copy of the DIR and then can call Info-Legal
the 28th precinct to speak with DVPO Simmons about how it was
"lost" according to Lt. LaRocca. Gave CL our fax #. | _
11/1/2011|SD called the 28th precinct to speak w/ DVPO Simmons about this [CJA-Police
DIR. She was very resistant and wasn’t able to provide any info
except that the report got “lost in the system”. Her stance was that
_ __j}CL must return to the precinct to file another one. _.
11/8/20111SD s/w CL about Belinda accompanying her to the precinct to make linfo-Legal
a report as well as to her meeting with Christine Quinn's office to
___ report her treatment by the police. |.
11/8/2011|SD offered CL emotional support and validated her feelings about Crisis
 eseronee {the 28th precinct's handling of her case. Counseling
44/8/20144SD gave.CL.a-run-down-of the-very-. unproductive phone. call. had |Info-Legal
with the DVPO last week, and advised her that the issue is definitely
not her fault. ;
11/8/2011 (CL called on the HL and SD s/w her about what happened when | [Follow Up
_ __ {called the 28th precinct last week.  _
41/8/2011|SD emailed KT & Anindita about having Belinda accompany CL to |PA-Legal
__ {the 28th precinct to re-file the DIR that they "lost" in theirsystem. |
11/9/2011|SD s/w CL briefly at CVTC about Belinda accompanying her to the  |Follow Up
_ 28th precinct. CL was just getting out of group at CVTC. _
11/9/2011|SD séw CL briefly at CVTC about Belinda accompanying her to the —_|Info-Legal
28th precinct. CL was just getting out of group at CVTC. |.
11/9/2011)SD provided CL w/ emotional support about her treatment by the Crisis
i _ 28th and confirmed that | was also stonewalled by the DVPO there. |Counseling
11/9/2011|SD advised CL that | would meet with Belinda on Friday to go over —_|Info-Legal
CL's case with her, so she should be able to accompany her next
week.
11/15/2011|SD called CL to set up a time for Belinda to accompany hertothe (Follow Up
precinct in order to make a report. No answer. Her voice mail box
__|was full so | couldn't leave a message. ;
11/15/2011/SD called Lisa @ CVTC to s/w her about CL. No answer. Left vm PA-Legal
asking foracallback, oe
41/15/2011 (SD siw Lisa @ CVTC who returned my my phone call. Discussed the _ [PA-Legal

 

 

SD met with cL at CVTC and briefly discussed Belinda escorting her

 

Info-Other

 

 
 

 

  

 

Cede den intl cool behets 24 —
Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 17 of 40

 

City Council early next yr.

 

to the 28th precinct to file her DIRa as Ewell as possibly testifying at ~

 

SD met with CL at CVTC and briefly discussed Belinda escorting her
to the 28th precinct to file her DIR as well as possibly testifying at
City Council early next yr.

11/16/2011

[Follow Up

 

SD met with CL at CVTC and briefly discussed | Belinda escorting | her
to the 28th precinct to file her DIR as well as possibly testifying at

“4111612011

lInfo-Leg al |

 

 

oe

“41/22/2011
will be meeting at CVTC on Thursday (12/1) to head up to the 28th
—__ fprecinct.

 

PA-Legal

 

11/22/2011|BD s/w CL and arranged a date/time to meet @ CVTC and then to
go up to the 28th precinct.

Info-Legal

 

 

Y 441/22/20111SD s/w CL who called in on the HL. Let her know that | hadn't been
able to get a hold of her and had her s/w Belinda to schedule a time
to go to the precinct.

Follaw Up

 

41/22/2011ISD s/w CL who called in on the HL. Let her know that | hadn't been
able to get a hold of her and had her s/w Belinda to schedule a time
jto.go to. the precinct.

Info-Legal

 

 

Y 11/30/2011 SD advised CL that now that her OP. was s downgraded, it's critical
that she obtain the DIR to prove the OP violation to the IDV judge.

iInfo-Legal

 

11/30/20111SD called CL to sf her about meeting tomorrow w/ BD to head to
the 28th precinct.

(Follow Up -

 

SD provided CL emotional support b/c of what occurred in IDV w/
her OP (hers was downgraded to a limited OP and he still has a stay |
jaway against her).

41/30/2011

Crisis
{Counseling

 

 

 

11/30/2011
' 11/30/2011

SD s/w CL about what happened in IDV court yesterday w/ her OP.
ISD sw CL about the possibility of a City Council hearing and let her

about it.

|know that it's still in the initial stages. | haven't heard anything more |

i Info-Legal _| al
Info- -Other |

 

 

 

sD confirmed the time/date for CL to meet with BD and head ‘to the
precinct.

14/30/2011

| Info-Legal

 

SD called Lisa @ CVTC to give her an update on what took place
today at the 28. No answer. Left vm. Also informed her about my
conversation w/ KT and the potential to speak directly to Audrey but
we need to be confident that there's nothing that can be used
against CL.

42/1/2011

PA-Legal

 

 

~ 42/1/2011 |BD met with CL at CVTC to accompany her to the 28th precinct. BD
inform her of what took place. CL was very happy with the effect of
the accompaniment and articulated her desire for BD to accompany
her in other respects.

Isp siw v Lisa w who called me back. Discussed | CL's case and

 

 

12/1/2011

 

assisted CL with filing a DIR for the OP violation and emailed SD to |

CJA-DA

 

 

 

 
Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 18 of 40

      
    
   

 
   

al ls LO Sa Sis bth a eat eta teste tr] ss ELVIGE >”
possibility of a meeting to try and hash out the probability of going to Counseling
DA's office with a solid case for dropping the charges. Will speak to
JKT about this. _ Jo
42/1/2011|SD s/w Lisa who called me back. Discussed CL's case and iPA-Legal
possibility of a meeting to try and hash out the probability of going to |
DA's office with a solid case for dropping the charges. Will speak to
__|KT about this. a ee
12/1/20111BD met with CL at CVTC to accompany her to the 28th precinct. BD ICJA-Police
assisted CL with filing a DIR for the OP violation and emailed SD to
inform her of what took place, CL was very happy with the effect of
the accompaniment and articulated her desire for BD to accompany
her in other respects.

12/1/20111BD met with CL at CVTC to accompany her to the 28th precinct. BD |Info-Legal
assisted CL with filing a DIR for the OP violation and emailed SD to
inform her of what took place. CL was very happy with the effect of
the accompaniment and articulated her desire for BD to accompany
her in other respects. —

12/1/20111BD met with CL at CVTC to accompany her to the 28th precinct. BD |Follow Up
assisted CL. with filing a DIR for the OP violation and emailed SD to |
inform her of what took place. CL was very happy with the effect of {| |
the accompaniment and articulated her desire for BD to accompany
her in other respects.

12/1/20111BD met with CL at CVTC to accompany her to the 28th precinct. BD (Crisis
assisted CL with filing a DIR for the OP violation and emailed SD to iCounseling
linform her of what took place. CL was very happy with the effect of
the accompaniment and articulated her desire for BD to accompany |
her in other respects

 

 

 

 

 

 

 

 

 

 

 

12/2/2011|SD emailed Lisa to arrange a time for us to meet wi KT to discuss _ PA-Legal - “|

C's case and develop a strategy for advocating with the DA's office |
12/5/2011/SD s/w CL who called in very upset b/c she ran into RESP at the Follow Up
bodega and had to turn around and walk out while they (him and his
_.___|friend) laughed at her. _ a ees st

12/5/2011'SD s/w CL to try and de-escalate her a bit, and then reminded her [Crisis i
that the best thing she can do for now is protect herself from the OP |Counseling
ever thougty it's iPr i iii enemas
12/5/20111SD s/w CL to try and de-escalate her a bit, and then reminded her  |Safety
that the best thing she can do for now is protect herself from the OP |Planning
_ jeven though it's infuriating, - —— | ee!
42/5/2011|SD advised CL that KT and | need to review her papers from court Info-Legal
so that we can see what exactly happened there before we can do
a any kind of advocacy on her behalf. CL will fax them today.

| 42/6/2011 SD called CL unblocked to f/u on her vm from yesterday about her Follow Up ~ |
be fax. It was not in the fax machine. No answer. Left vm. ee ee
| "12/6/2011 |SD s/w CL who called in returning my vm. Confirmed for her that | __|Info-Legal

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 19 of 40

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

did not receive the fax (checked again), so she is going to drop it by
| ___,_ ithe office today. | gave her the address. i.
12/6/2011|SD called CL unblocked to f/u on her vm from yesterday about her Info-Legal
fax. It was not in the fax machine. No answer. Left vm.
42/6/2011 SD sAw CL who called in returning my vm. Confirmed for her that! (Follow Up
did not receive the fax (checked again), so she is going to drop it by
the office today. | gave her the address. _
42/7/20111SD and Lisa s/w CL about how her actions, wio the context of the Info-Legal
lhistory of DV against her, could have been seen as a batterer's
actions. 1
12/7/2011|SD met with CL at CVTC. _ CVTC
12/7/2011|SD and Lisa s/w CL about the common tactics batterers use to iInfo-Legal
lintimidate their victims, and how some of her actions and statements
_____ Jeould be misrepresented to look like those tactics. t. _
12/7/2011|SD s/w CL about the 28th precinct and their handling of the case. \Info-Legal
12/7/20111SD provided CL w/ emotional support given the handling of her case |Crisis
to date. Counseling
12/7/20111SD s/w Lisa about CL's case and tried to set up a time for her to |PA-Legal
‘lmeet with KT and | to-go over the court doc's in: CL's possession and:
jwork out a coherent story to possibly present to the DA's office on
aS ee aged CL's behalf. Sr = « os ‘ —=-=
— 121772011 SD s/w CL. about the DA's 5 office’ s handling of her case. . Info-Legal
12/8/2011 |SD s/w Lisa and KT about setting up a meeting ‘sometime next PA-Legal
week,
42/1 3/20111SD tried calling Lisa @ CVTC again to set up atime to ‘meet wh KT PA-Legal
re, CL's legal case. Trying for tomorrow afternoon near the end of
the day. wt
| 12/1 3/2011{/SD s/w Lisa who called me back, and we set up ‘the time of 3pm PA-Legal
tomorrow to meet w/ KT to review CL's legal case. 7
42/20/2011|SD called Lisa returning her message about setting up a time to PA-Other
- meet w/ KT re. CL's legal case, No answer. Left vm. a
12/20/2011|SD called Lisa returning her message about setting up a time to PA-Legal
___ {meet w/ KT re. CL's legal case. No answer. Left vm. _ fo
12/20/2011|SD s/w Lisa @ CVTC and (tentatively) set upa meeting for next |PA-Legal
week on Wed @ii am.
12/28/2011\SD met wf Lisa & KT re. CL's case: > Family Court ‘OP, Crim Court PA-Legal
__|charges, and proving she's a survivor of DV. te
12/28/2011 |KT met w/ Lisa & SD re. CL's case: Family Court OP, Crim Court PA-
| ___ |charges, and proving she's a surivor of DV. ____ {Counseling _
42/28/2011 |KT met w/ Lisa & SD re. CL's case: Family Court ‘OP, ‘Crim Court PA-Legal
| charges, and proving she's a surivor of DV.
| 12/28/2011 1|SD met w/ Lisa & KT re. CL's case; Family Court OP, Crim Court _ {PA-Family

 

 

 

 

 
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Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 20 of 40

 

 
   

 

a "feharges, and proving she's a survivor of DV. |c
Y 42/28/20111SD met wi Lisa & KT re. CL's case; Family Court OP, Crim Court |PA-

 

 

 

 

 

 

_|eharges, and proving she's a survivor of DV. _ {Counseling

12/28/20111KT met w/ Lisa & SD re. CL's case: Family Court OP, Crim Court PA-Family
_ __|charges, and proving s she's a surivor of DV. {Court |
1/5/2012\KT met with Lisa, SD, and CL to discuss the FC case, the cc |PA-Family |

charges against her, short and long-term priorities and goals, and Court
forming an effective strategy to address them.

} mt met with Lisa, SD, and CL to discuss the FC case, the CC ~~ |pA-Legal

 

 

 

charges against her, short and long-term priorities and goals, and

forming an effective strategy to address them.

SD met w/ Lisa, KT, and CL to discuss the FC case, ‘the CC charges |Safety

against her, short and long-term priorities and goals, and forming an Planning

effective strategy to address them. _

1/5/2012)KT met with Lisa, SD, and CL to discuss the FC case, ‘the icc: Safety

charges against her, short and long-term priorities and goals, and = [Planning

forming an effective strategy to address them.

KT met with Lisa, SD, and CL to discuss the FC case, the CC \Crisis

charges against-her,-short-and_long-term priorities.and goals, and Counseling |

; forming an effective strategy to address them. _

4/5/20121SD met w/ Lisa, KT, and CL to discuss the FC case, the CC charges Crisis |
against her, short and long-term priorities and goals, and forming an Counseling

_ effective strategy to address them. _ -

4/5/2012|SD met w/ Lisa, KT, and CL to discuss the EC. case, the CC charges |PA-Legal

against her, short and long-term priorities and goals, and forming an |

effective strategy to address them.

a eck

4/5/2012\SD met w/ Lisa, KT, and CL. to discuss the FC case, the CC charges | IPA. Family
‘against her, short and long-term priorities and goals, and forming an |Court
effective strategy to address them. |

_ |
4/5{2012|1SD met w/ Lisa, KT, and CL to discuss the FC case, the CC ‘charges PA- |
lagainst her, short and long-term priorities and goals, and forming an |Counseling |
jeffective strategy to address them.

1/5/2012iKT met with Lisa, SD, and CL to discuss the FC case, case, the CC PA-
charges against her, short and long-term priorities and goals, and Counseling |
__ forming an effective strategy to address them.
WW 1/2012|SD explained what our strategy will be in advocating with the DA's Info-Legal
office and reminded her that while we believe her story, we have to
know exactly what took place (whether it was incriminating or not) so
that we can lay out the entire context of DV and its impact on her
—__ factions.
4/11/2012|SD s/w CL about the different sub-sections of the aggravated info-Legal
harassment charge that she's facing and what they mean.

| _ 1/1 11/2012| ISD met wi wh CL at CVTC to discuss the charges in-depth and to get a _{Follow Up

 

1/5/2012

 

 

 

 

 

 

1/5/2012

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 21 of 40

 

 

 

 

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full account, of her version of events.

 

 

 

 

 

 

 

 

 

 

 

 

 

"4/19/2012|

1/11/20121SD did some emotional, physical, and legal SP w/ CL because he is [Safety
________[still calling her and she is talking to him b/c she misses him. [Planning
1/11/2012|SD provided CL w/ emotional support throughout this process. (Crisis
. {Counseling _
| 173012 SD siw CL in-depth about her version ‘of events (# of phone calls. iPA-Legal
and texts, what was said, the nature of the interactions w/ him, and |
her intent during these interactions). Recorded CL's version of
events in a timeline format.
4/12/2012\KT s/w Audrey Moore, CHief of OV Bureau @ NYCo DA's office, to ICJA-DA
inquire about case and raise issues of victim treated as perp. AM
___frequested email with identifying email, | will follow up with her. _— z
1/13/2012|SD s/w CL who called in on the HL. |Follow Up
1/13/2012|SD offered CL emotional support b/c of how traumatized she was Crisis
yesterday over her attorney's conduct. Counseling ©
1/13/20121SD s/w CL about her decision to fire Kartegener and the possibility |Info-Legal
of tapping into her resources at the Legal Aid office since she had a
_ good feeling about them. } .
1/13/2012 oe s/w Cl about what the plea offer could mean for her and that it~ “info-Legal-
— illustrates a posible problem with the state's case. oe
1/13/2012|SD did some SP wi CL bie she mentioned just waking up (3: 15pm) “|Safety
after taking sleeping pills the night before. She clarified that she Planning
— __|didn't try to overdose; she took them just to knock her out. ee
1/13/2012/SD called Lisa @ CVTC to update her on the case, No answer. Left. IPA-Legal
_ vm requesting a call back.  cceeccainanasesence
1/17/2012|SD called for Lisa @ CVTC again returning her vm. Na answer. Left |PA-Legal

vm jetting her know what happened w/ ADA since she's meeting with
CL at CL at 2pm today and asked her to call me.

 

SD s/w CL who called in on ‘the HL. but it she hung ‘up when | tried to
talk to her about leaving a vm on our phone rather than calling over
and over again. | informed her that we can't have someone call
lincessantly and that | was planning on returning her message when
CL. got frustrated and hung up the phone.

Follow Up

 

4/19/2012
~ 4/19/201216

~ 4/49/2012|SD

 

4/19/2012

~ 1/19/2012

 

KT emailed Audrey Moore and Lisa Haileselassie re: case status
and advocating for dismissal.

 

SD s/w v Lisa who called | in returning my vm. Siw her about CL's case
and the upcoming disorderly / conduct. hearing.

PA-
Counseling

 

SD sent KT the info for CL's case and the info ‘for RESP who then
forwarded that info to Audrey Moore at the DA's office.

SD s/w Lisa who called in returning my vm. SAw her abaut CL’s case
and the upcoming disorderly c conduct hearing.

 

CJA-DA

PA-Legal

 

SD s/w CL who called in on the HL but she hung up when | tried to
{talk to her about leaving a vm on our phone rather than calling over

 

Info-Legal

 

 

 

 
Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 22 of 40

 

 

 

 

 

and over again. J normed fer “that we can't Rave © someone call
lincessantly and that | was planning on returning her message when

 

 

4 PA-Legal

 

 

 

 

 

1/19/2012|SD called Lisa @ CVTC back returning, aor vm from earlier today.
No answer. Left a detailed vm about CL as well as about the other
___|HL case they were helping us with, |. |
4/20/2012 SD s/w CL who called in on the HL ‘about yesterday’ S conversation. _|Follow Up
1/20/2012|SD gave CL emotional support in response to her anxiety over the Crisis
criminal charges against her. {Counseling
4720/2012 SD s/w CL about the criminal charges pending against her and the jinfo-Legal
__jupcoming hearing on the disorderly conduct case.
4/24/2012|SD s/w CL who called in on the HL w/ an update on the disorderly Info-Legal
—— conduct case. ADA Wells offered an ACD, but she did not accept. -
4/24/2012|SD s/w CL who called in on the HL w/ an update on the disorderly {Follow Up
_... conduct case. ADA Wells offered an ACD, but she did notaccept. |
1/31/2012|SD informed CL that we gave her info and the info of the case to the Info-Legal

SVB chief (Audrey Moore) in the DA's office a couple weeks ago and
we're still waiting on the outcome of that.

 

 

~ 4/31/2012|SD informed CL. that even one missed court date can result ina— linfo-Legal—|
dismissal of her FC case against RESP, which is what happened.
lHlowever, she didn't show b/c Kartegener told her the wrong date
___ land they've given her until Mon to come back w/ a new attorney, oj
1/31/2012{SD informed CL that if ADA Wells knew she wasn't going to take the linfo-Legal

 

1/31/2012

deal, then he didn't have to formally offer it to her (it sounds like he
did not). .

SD s/w CL who called in on the HL very upset. and threatening to "go
to the Bk Bridge" right now (basically providing an underlying
implication of suicidality).

 

 

1/31/2012

SD s/w CL who cailed in on the HL very upset and threatening to' ‘go
to the Bk Bridge" right now (basically providing an underlying
implication of suicidality).

Crisis
Counseling

 

[Follow Up .

 

2/3/2012

SD s/w CL. who called in on the HL about the pending crim charges.
Wanted to know what we “sent” to the DA’s office and | informed her
that we only provided her name and the docket # of the case b/c
that's all they wanted.

Follow Up

 

2/3/2012

SD s/w CL who called in on the HL about the pending crim charges.
Wanted to know what we "sent" to the DA's office and | informed her
that we only provided her name and the docket # of the case b/c
that's all they wanted.

Info-Legal

 

 

|

|

9/3/2012{

SD confirmed w/ CL that it would still be okay to present what she
gave us to the DA's office if they ask for it. She said that was fine,

Info-Legal

 

 

~ 2/6/2012

SD called Lisa @ CVTC back returning her call re. ‘status of CL's

PA- Legal

 

 

case and advocacy with DA's office.

 

 
Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 23 of 40

 

 

 

 

2/6/2012 SD Y s/w CL who called in 1 to update me on 1 the case,

 

2/6/2012|SD siw CL about the pending crim case and her new Legal Aid” _ \info-Legal |
ee Ct) i | _

2/6/2012/SD s/w CL about meeting g w/ her Legal Aid attorney. Will discuss w/ \Info-Legai
KT and see if there is an appropriate meeting time this week (may
not be possible this week).

2/7/2012)SD responded to CL's email w/ corrected count info, docket #'s, and Info-Legal
an explanation of what an ACD is for her formal complaint about the |
[DA's office.

2/7/20121SD sAw Lisa who called re. the pending criminal charges andcase_ |PA-
developments. Lisa will be seeing CL later today for a counseling {Counseling
session, ee
2/7/2012|SD responded to CL's email w/ corrected count info, docket #'s, and linfo-Legal
an explanation of what an ACD is for her formal complaint about the
{DA's office. .
2/7/2012|SD responded to CL's email w/ corrected count info, docket #'s, and jinfo-Legal
an explanation of what an ACD is for her formal complaint about the |
; |DA's office. Oo
2/7/2012|SD.responded.to.CL's.email.w/.corrected. count info, docket #'s, and_|Follow Up
an explanation of what an ACD is for her formal complaint about the
_ DA's office, ;
2/7/2012!SD siw Lisa 2 who called Te. the pending criminal ‘charges and ¢ case PA-Legal
developments. Lisa will be seeing CL later today for a counseling

 

 

 

 

 

 

 

 

 

 

 

 

 

session. Lo
2/7/2012 SD informed CL that Lisa @ CVTC called me re. ‘updates on the “info-
case and that she's prob concerned about that. {Counseling

 

-°2/7/2012|SD provided CL my email address b/c she would like me to look over Info-Legal
the formal complaint she's going to write about the DA's office's
a |handling of her case. | agreed to look at it.
2/7/2012\SD informed CL that her theory as to overall office responsibility may jInfo-Legal
|not be true; it's highly unlikely the entire DA's office is involved (as |
ee _opposed to ADA Stroben and/or Wells). il
2/712012|SD s/w CL who called in on the HL w/ an update on the case. Her [Follow Up
neighbor is on the community board with an inspector at the 28th,
and the neighbor asked him what was going on w/ CL's case. The
_ jinspector a llegedly stated that it was all the DA's: office. |
2/7/2012|SD provided CL w/ emotional support re. the new info she's rec'd iCrisis
about the DA's office’s conduct in her case (according to an jCounseling
inspector at the 28th precinct that is). |

"2/8/2012 KT emailed Lisa Haileselassie and SD re: conversation with defense |PA- -

 

 

 

 

 

 

 

 

 

 

 

 

 

attorney and gathering evidence, developing plan for crisis jCounseling
= management, reporting on performance incourt, etc, ;
_ 2/8/201 2 KT emailed i Tajuana Johnson wi same info . |PA-Legal
Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 24 of 40

  

 

 

 

 

2/8/2012

attorney and gathering evidence, developing plan for crisis
management, reporting on performance It in court, etc.

KT emailed Lisa Haileselassio and "SD re: “conversation with rdctenee |

PA-Legal

   

 

9/8/2012

2/8/2012|

and left message advising of who L am and my role in case. _
IKT emailed Tajuana Johnson wi same info _

KT called Tajuana Johnson, CL’s new defense attomey at Legal Aid,

'[PA-Legal

CJA-Other _

 

2/8/2012

KT called Tajuana Johnson, CL's new defense attorney, and
discussed situaton briefly. Discussed our role and the ways we can
lsupport. She is interested in our working with Kelly to prepare
documents re: her victimization. | will reach out to SD and LH re:
preparing this evidence.

~ICJA-Other

 

2/8/2012

and left message advising of who | am and my role in case.

KT called Tajuana Johnson, CL's new defense altomey at Legal Aid,

CJA-Other

 

2/15/2012

SD met w/ CL briefly at CVTC re. doc’s to bring to Friday's meeting
w/ Tajuana (e.g. records from glass companies, medical records
from incidents identified on her timeline, etc.). CL stated that she's
jscared about the trial and | validated her feelings about that.

Follow Up

 

2/15/2012

SD met w/ CL briefly at CVTC re. doc’s to bring to Friday‘s meeting
pw Tajuana-(e.g..records from.glass.companies, medical records
from incidents identified on her timeline, etc.). CL stated that she's
scared about the trial and | validated her feelings about that.

~ | info-Legal ;

 

2/15/2012)

SD met w/ CL briefly at CVTC re. doc’s to bring to Friday's meeting
lw/ Tajuana (e.g. records from glass companies, medical records
‘from incidents identified on her timeline, etc.). CL stated that she's
scared about the trial and Iv validated her feelings about that.

iCrisis
Counseling

 

 

 

“2116/2012

2/16/2012

 

ir ti

from the glass companies tomorrow. No answer. Left vm and also
jemailed CL Ct wi the same request.

SD called CL to remind her to bring the doctor's reports and receipts | iFollow Up

 

from the glass companies tomorrow. No answer. Left vm and also
emailed CL wi the same request,

 

 

SD called CL to remind her to bring the doctor's reports and receipts; linfo-Legal

 

 

 

 

 

 

 

 

 

| 2/17/2012 (KT met w/ Lisa Haileselassie, Tajuana Johnson and CL to discuss Follow Up
criminal case, Discussed strategy, prospects, useful ways to
p prepare. __ |.
2/17/2012)KT met w/ Lisa Haileselassie, Tajuana Johnson and CL to discuss |Safety
| criminal case. Discussed strategy, prospects, ACD v. dismissal, |Planning
bo cee useful ways: to prepare. ‘ e
2117/2012, KT met wi Lisa Haileselassie, Tajuana Johnson and CL. to discuss iPA-Legal
criminal case. Discussed strategy, prospects, useful ways to
prepare. ee
2/17/2012\KT met wi Lisa Haileselassie and Tajuana Johnson to discuss case. ‘PA-Legal
Discussed outlook, position of prosecutor, attorney's impression of
; _____|defense issues. Discussed ways we can assist, victimization, etc.
_ 272012 KT met t w/ Lisa Haileselassie and Tajuana Johnson to discuss case. [Safety |

 

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Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 25 of 40

   
   
 
  

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Rae i

f prosecutor, attorney's impression of

ldefense issues. Discussed ways we can assist, victimization, bottom
fines for CL re: safety and autonomy. Nie ee
2/17/2012\KT met w/ Lisa Haileselassie and Tajuana Johnson to discuss case. \CJA-Other
Discussed outlook, position of prosecutor, attorney's impression of
______|defense issues. Discussed ways we Can assist, victimization, etc. sazza!
2/17/2012|KT met w/ Lisa Haileselassie, Tajuana Johnson and CL to discuss |CJA-Other
criminal case. Discussed strategy, prospects, useful ways to
prepare. _. / / ; -
2/24/2012|KT met wi CL and defense atty Tajuana Johnson. Discussed history Crisis
of abuse and clarified facts from timeline. Discussed current charges \Counseling
against her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP
violation and therefore TJ feels she will not be offered lower than a
jFamily ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and
will consider whether to accept ACD. TJ advised she intends to do a
full investigation. We will support however we can.
2/24/2012)KT met w/ CL and defense atty Tajuana Johnson: Discussed history \Safety
of abuse and clarified facts from timeline. Discussed current charges |Planning
jagainst her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP
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charges against her. TJ offered to help bring a case against
jprosecutor for abuse of discretion. CL very upset at prospects and
will consider whether to accept ACD. TJ advised she intends to do a
full investigation. We will support however we can. Discussed safety |
issues while she remains living next door to perp w/o an active
order, which was dismissed 1/31/12.

 

 

 

 

 

 

 

 

2/24/2012 |KT met wi CL and defense atty Tajuana Johnson. Discussed history |Follow Up
of abuse and clarified facts from timeline. Discussed current charges
against her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP
violation and therefore TJ feels she will not be offered lower than a
Family ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and
will consider whether to accept ACD. TJ advised she intends to do a
full investigation. We will support however we can.

>/24/2012|KT met wi CL and defense atty Tajuana Johnson. Discussed history |CJA-Other
of abuse and clarified facts from timeline, Discussed current charges
against her and potential outcomes. KT and CL listened in to Tu's
phone call with ADA Wells. They have a recording of the OP

violation and therefore TJ feels she will not be offered lower than a

 

 

 

 

 

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Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 26 of 40

 
  
    
 
  
   
   
   
 

 

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|Family ACD. Discussed future recourse for injustice of dropping ]
charges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and

9/24/2012 IKT met w/ CL and defense atty Tajuana Johnson. Discussed history |PA-Legal
lof abuse and clarified facts from timeline. Discussed current charges
against her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP

iolation and therefore TJ feels she will not be offered lower than a
Family ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and
ill consider whether to accept ACD. TJ advised she intends to do a |
full investigation. We will support however we can.

2/24/2012|KT met w/ CL and defense atty Tajuana Johnson. Discussed history |Info-Legal
of abuse and clarified facts from timeline. Discussed current charges
against her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP
Wviolation-and-therefore.T.J.feels she will not be offered lower than a
iFamily ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and
will consider whether to accept ACD. TJ advised she intends to do a
full investigation. We will support however we can.

2/24/2012 \Discussed right to file for another OP if necessary. OO Info-Family | |

Lo a . ee (COUN nll .
2/27/2012|SD informed CL that | don't know how this is all going to play out, but |Info-Legal |

ithat the ADA has to prove that she had the intent to commit the | |

____.____[etimes she's charged with
2/27/2012

 

 

 

 

 

 

 

 

D advised CL to take her cues from Tajuana and to let her handle \Info-Legal
_ __ithe case. |

2/27/2012'SD s/w CL briefly but | had not spoken to KT yet about the meeting |Info-Legal
they all had on Friday (! was out of town). Provided her w/ some
emotional support and also discussed the statements the ADA |
___japparently made to Tajuana. - 7

2/27/2012\SD s/w CL briefly but | had not spoken to KT yet about the meeting [Follow Up

they all had on Friday (1 was out of town). Provided her w/ some
emotional support and also discussed the statements the ADA
; __ japparently made to Tajuana. __. .
| 3/2712012\SD s/w CL briefly but | had not spoken to KT yet about the meeting Crisis
they all had on Friday {I was out of town). Provided her w/ some Counseling
emotional support and also discussed the statements the ADA
apparently made to Tajuana, |

3/2/2012|8D s/w CL who called in scared about the hearing on Tuesday. SD_ [Crisis

 

 

 

 

 

 

 

 

 

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Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 27 of 40

 

  

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— offered emotional support, _ __.._ (Counseling
'~“375/2012/SD s/w CL who called back to ask about the ACD and her ability to |Info-Legal
lsue after the 1 yr time period is up. | confirmed what both KT and
. Tajuana told her about this on Friday. ed ee
3/2/20121SD s/w CL who called back to ask about the ACD and her ability to Follow Up

isue after the 1 yr time period is up. | confirmed what both KT and |
-|Tajuana told her about this on Friday. ee {|
3/2/2012|SD s/w Lisa @ CVTC about my conversation w/ CL earlier today. PA-

iLet her know that CL was pretty upset, but | was able to talk her |Counseling
down. |

“3/2/30121SD siw Lisa @ CVTC who returned my call. Discussed the hearing [PA-Legal ~
on Tuesday and the fact that she might not be able to go. Also
discussed the 30/30, which is a no go b/c Kartegener did ask for an
adjournment. a
3/2/2012{SD informed CL that I have no idea who the "phone expert” the ADA jInfo-Legal
jmentioned to Tajuana would be, but that Raheem has to confirm to
ithe court that the phone call came from CL on the alleged date after
ithe OP was issued. _. - 7
3/2/2012|SD siv CL about Raheem showing up at the hearing on Tuesday to_|Info-Legal
vet the phone call for the contempt of court charge, and CL
___|reiterated that he won't be there. oe |.
3/2/2012\SD informed CL that the ADA has to prove 3 things: 1) that she Info-Legal
committed the crime, 2) that she had the intent to commit the crime, _
____ jand 3) these two things beyond a reasonable doubt
3/2/2012|SD siw CL who called in scared about the hearing on Tuesday. SD Follow Up
; offered emotional support.

~3/2/201 SD informed CL. that if this goes to trial, the ADA has to provide his . ‘lInfo-Legal |
evidence to Tajuana who will have the opportunity to investigate all

 

 

sah

 

 

 

 

 

 

 

 

 

of it.
3/6/2012(SD s/w CL after hearing and advised her that it's essential that she [Crisis
listen to and trust Tajuana’s actions in court. Confirmed what Counseling

Tajuana told her after court about how to act when in front of the

3/6/2012|SD s/w CL after hearing and informed her that when Tajuana
checked the calendar, she found that Kartegener had agreed to
each adjournment, so today is the first day of the 30/30 clock. This is
why she needs to let Tajuana control what's happening in court (she |
was trying to push the next hearing back into April to run down the |
clock).

|  3/6/2012|SD went to IDV w/ Tajuana, Rammel (from CVTC), and CL. for “|IPA-Legal
criminal trial hearing. People weren't ready. 30/30 time started.
Adjourned until 3/15/42. dpe wo
[ 3/6/2012|SD s/w CL after hearing and advised her that it's essential that she Info-Legal |
| listen to and trust Tajuana’s actions in court. Confirmed what | sated

 

“linfo-Legal |

 

 

 

 

 

 

 

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Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 28 of 40

 

    
 

   

  
  
   

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Tajuana told her after court about haw to act when in front of the
judge, and to lether make the plays. 7 fo
3/6/2012|SD s/w CL after hearing about the trajectory of the case over the Info-Legal

past year from 300+ charges to an ACD to now not being ready
when Tajuana indicated she is ready.

 

 

 

 

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-"39673012ISD went to IDV wi Tajuana, Rammel (from CVTC), and CL for CJA-DA
criminal trial hearing. People weren't ready. 30/30 time started.
__jAdjourned until 3/15/12. ee ee __ 7
3/6/2012{SD went to IDV w/ Tajuana, Rammel (from CVTC), and CL for PA- |
criminal trial hearing. People weren't ready. 30/30 time started. iCounseling |

Adjourned until 3/15/12. :

3/8/2012|KT siw Tajuana, CL's defense attorney. Discussed issues with the ] PA-Legal -
case, potential responses to assist with the criminal charges. _

 

 

 

 

 

3/9/2012IKT s/w CL and discussed what happened in court. Discussed iFollow Up
straying from plan, CL’s concerns with prosecution, etc. Did CC. ,
3/9/2012IKT s/w CL and discussed what happened in court. Discussed |Crisis
| ___Straying from plan, CL's concerns with prosecution, etc. Did CC. jCounseling
3/9/2012'KT s/w CL and discussed what happened in court, Discussed \Info-Legal

— — straying from-pian,-GL's-coneerns-with prosecution, etc. DidCC. fd
3/13/2012|KT s/w CL's social worker Lisa Haileselassie and discussed case. |PA-

Discussed mental health issues and appropriate responses. \Counseling

Discussed ways to assist CL's attorney. _ | 7

3/13/2012IKT s/w CL's social worker Lisa Haileselassie and discussed case. |CVTC
Discussed mental health issues and appropriate responses,
Discussed ways to assist CL's attorney.

 

 

 

 

~3/13/2012/KT s/w CL's social worker Lisa Haileselassie and discussed case, IPA-Legal :
Discussed mental health issues and appropriate responses.
iDiscussed ways to assist CL's attorney.

3/14/2012|KT met w/ CL and Tajuana Johnson; discussed cases. Discussed [Crisis
defense for violation as well as disorderly conduct. Discussed issues [Counseling
with presentation in court, how to manage abusive and manipulative
tactics by abuser, how to stay safe during process. Did CC wi CL as
she was extemely distressed by the conversation. Discussed plan
for upcoming court .
3/14/2012 KT met wi CL. and Tajuana Johnson; discussed cases. Discussed __ |Info-Legal
defense for violation as well as disorderly conduct. Discussed issues
with presentation in court, how to manage abusive and manipulative |
tactics by abuser, how to stay safe during process, Did CC w/ CL as
she was extemely distressed by the conversation. Discussed plan
. _ifor upcoming court , _ |
3/14/2012/KT met wi CL and Tajuana Johnson; discussed cases. Discussed [PA-Legal
|
'
|

 

 

 

 

 

 

 

 

defense for violation as well as disorderly conduct. Discussed issues
with presentation in court, how to manage abusive and manipulative
tactics by abuser, how to stay safe during process, Did CC wl CL as |

 

 

 

 

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for upcoming court

 

 

3/14/2012IKT met w/ CL and Tajuana Johnson; discussed cases, Discussed |
\defense for violation as well as disorderly conduct. Discussed issues |
iwith presentation in court, how to manage abusive and manipulative |
tactics by abuser, how to stay safe during process. Did CC w/ CL as |
she was extemely distressed by the conversation. Discussed plan
[for upcoming court a

Safety
Planning

 

 

3/14/2012|KT met w/ CL and Tajuana Johnson; discussed cases. Discussed |
defense for violation as well as disorderly conduct. Discussed issues |
with presentation in court, how to manage abusive and manipulative
tactics by abuser, how to stay safe during process. Did CC w/ CL as
she was extemely distressed by the conversation. Discussed plan
Trot upcoming court

Follow Up

 

3/14/2012|KT met w/ CL and Tajuana Johnson; discussed cases. Discussed
defense for violation as well as disorderly conduct. Discussed issues

CJA-Other

 

with presentation in court, how to manage abusive and manipulative
tactics by abuser, how to stay safe during process. Did CC w/ CL as
Bs was extemely distressed by the conversation. Discussed plan

of upcoming cour |

 

3/15/20121KT s/w CL who reported on court case. Raheem did not show up in
court again. Prosecutor requested an adjournment on the case and
advised he still needed more time. CL distressed by the extension of
ithe case but understood the legal strategy. _

Follow Up |

 

 

3/15/2012/KT s/w CL who reported on court case. Raheem did not show up in
court again. Prosecutor requested an adjournment on the case and
advised he still needed more time. CL distressed by the extension of |
the case but understood the legal strategy, |

Crisis
Counseling

 

3/15/2012|KT s/w CL who reported on court case. Raheem did not show up in |
court again. Prosecutor requested an adjournment on the case and
advised he still needed more time. CL distressed by the extension of
the case but understood the legal strategy. _

Info-Legal —

 

 

3/21/2012|KT s/w CL and discussed upcoming court. She spoke with her

defense attorney who wants her to begin collecting evidence. Atty
said she does not want to flush out the case before seeing what the |
prosecutor has. CL and | discussed abuse issues and her efforts to
try to keep the situation under wraps. Did safety planning and
discussed strategy for getting protection once this is over. CL
became very distressed during the conversation and | tried to calm
her down a little bit. She is very worried about the ways her abuser
will use this against her in the future.

~-3/21/2012|KT s/w CL and discussed upcoming court. She spoke with her |
Planning

defense attorney who wants her to begin collecting evidence. Atty
said she does not want to flush out the case before seeing what the

Info-Legal

Safety

 

 

 

prosecutor has. CL and | discussed abuse issues and her efforts to

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Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 29 of 40

 
Case 1:15-cv-05871-LAP Document 16-4 Filed 05/09/16 Page 30 of 40

    
  
 

 
  

 

 
    

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try to keep the situation und and
discussed strategy for getting protection once this is over. CL

Ibecame very distressed during the conversation and | tried to calm

her down a little bit. She is very worried about the ways her abuser

will use this against her in the future.

 

3/21/2012

{will use this against her in the future.

KT s/w CL and discussed upcoming court. She spoke with her
defense attorney who wants her to begin collecting evidence. Atty
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prosecutor has. CL and | discussed abuse issues and her efforts to
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discussed strategy for getting protection once this is over. CL
became very distressed during the conversation and | tried to calm
her down a little bit. She is very worried about the ways her abuser

 

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3/26/2012

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KT s/w CL and discussed upcoming court. She spoke with her
defense attorney who wants her to begin collecting evidence. Atty
said she does not want to flush out the case before seeing what the

jprosecutor has. CL and | discussed abuse issues and her efforts to

try to keep the situation under wraps. Did safety planning and

idiscussed.strategy for getting. protection-once-this.is over..CL. J
became very distressed during the conversation and | tried to calm

her down a little bit. She is very worried about the ways her abuser

will use this against her in the future.

Follow Up

fc

Crisis

Counseling

 

KT sAw CL and discussed that | could not attend Monday's meeting.
CL understood. CL stated that she was receiving messages on her
"Kelly Price" phone line from a blocked number and she believed it

\was Kenya Wells calling her. CL stated that the calied said sexually

explicit things and was harassing her. She has received repeated
messages from this number. CL was very upset. Did a little CC.
Discussed legal strategy and our potential role - will help to gather
documents as her defense attorney sees fit.

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Info-Legal

 

 

16
